Case 2:12-cv-08051-RGK-MRW Document 85 Filed 07/27/18 Page 1 of 1 Page ID #:1067

                      UNITED STATES COURT OF APPEALS
                                                                        FILED
                             FOR THE NINTH CIRCUIT
                                                                        JUL 27 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




    HECTOR NAVARRO; et al.,                     No. 13-55323

                 Plaintiffs - Appellants,
                                                D.C. No. 2:12-cv-08051-RGK-MRW
     v.                                         U.S. District Court for Central
                                                California, Los Angeles
    ENCINO MOTORCARS, LLC,
    erroneously sued as Mercedes Benz           MANDATE
    of Encino,

                 Defendant - Appellee.


          The judgment of this Court, entered July 19, 2018, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Craig Westbrooke
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
